The facts are sufficiently stated in the opinion of the Court by Mr.Chief Justice Clark.
Revisal, 1693 (3), withdraws from being granted by the State all "marsh or swamp land, where the quantity of land in any one marsh or swamp exceeds 2,000 acres, or where, if of less quantity, the same has been surveyed by the State, or by the State Board of Education, with a view to draining and reclaiming the same." This is an action to declare void certain grants embracing land which it is claimed came within the terms of the above section, and also to recover damages for timber cut by defendants on said land. The plaintiff did not ask to recover damages for timber cut more than three years before suit brought, and as to the action for the land, the plaintiff is not barred by the statute of limitations, which does not run in such cases, Revisal, 4048, unless the State would have been barred by adverse possession, which is not the case here.
The first five exceptions are because the witnesses, who stated that they were familiar with the land, upon being asked what kind of land it was, answered that it was "swamp land." This being a matter of personal observation, as to a fact within the knowledge of the witness, the answer was competent, subject to cross-examination by the defendant. It is true, the jury must find the issue, but the answer of the witness was competent to be submitted to them. Britt v. R. R., 148 N.C. 40.
The court charged the jury: "If this was swamp land and in a swamp of over 2,000 acres, prior to and at the time the grants under which the *Page 265 
defendant's claims were taken out, then the lands were not subject to entry and grant, and the defendant's said grants would be void and of no effect, for in such case there was no power and authority to grant same." The exception to this charge cannot be sustained. (316) It complies with Revisal, 1693 (3).
The court charged the jury: "Was the land in question swamp land as is generally called and known? Some authorities have defined swamp land as wet, spongy ground, soft, low-ground, saturated with water, but not usually covered with it; marshy ground away from the seashore; another, as land the greater part of which is wet and unfit for cultivation, land which requires draining in order to make it fit for successful or useful cultivation." Exception 7 was to this charge and cannot be sustained. The court went on to quote the statutory definition of swamp land enacted 4 March, 1891, now Revisal, 1695, and told the jury that this statutory definition would not apply against the defendant, who held under a grant issued prior to that date, and further added that as to the definition given above, the court did not mean to lay down any hard or fast rule by which the jury were to determine whether the lands in question were swamp land, but merely to give it as assistance to them in ascertaining what was the common and generally accepted definition of the words "swamp land."
The court charged the jury: "It is not necessary that every bit of the land in controversy should be swamp land in order to enable the plaintiff to recover, that is to say, if there be some knolls or higher and drier places in this piece of land that, taken by themselves, might not be deemed swamp, yet if they had swamp land around them in sufficient quantity so that the latter largely prevailed, and taking the whole body, by and large; the general effect was to make and call the land swamp land, then the knolls or higher ground could be taken in as a part of the whole." The eighth exception was to this charge, and cannot be sustained.
The ninth exception is because the court did not instruct the jury that the grants could be vacated only by "clear, strong, and convincing evidence." There was no prayer to this effect, and it could not have been given if asked. The charge put the burden on the plaintiff to make out his case by the preponderance and the greater weight of the evidence, and this is the correct rule in this case. Board (317)of Education v. Makely, 139 N.C. 34. The court properly charged the jury to answer the issues "No" unless by the greater weight of the evidence the plaintiff had shown that the land covered by the grants were swamp lands and part of a swamp of more than 2,000 acres.
The statute provides that when it is shown that the land is swamp *Page 266 
land and within a swamp of more than 2,000 acres, the law presumes that the Board of Education is the owner thereof, because grants of such land are void and unauthorized. Revisal, 4047; Board of Education v. Makely, supra.
The prayers of the defendant so far as they were correct were given in substance in the charge. It was not necessary that they should have been given in the exact language asked for, if given in substance. Horton v. R.R., 145 N.C. 132.
No error.
Cited: Weston v. Lumber Co., 162 N.C. 167; Lewis v. Fountain,168 N.C. 279.